
*866OBINIORr.
Sieekin :
The petitioner in this proceeding seeks to prove that the values assigned by her to certain items of her return for the estate of William Moore were inflated values. The only facts apparently not known to the disinterested and experienced appraisers whose values were the basis of the return at the time the return was filed, were (1) how long the farm depression in that vicinity would last and (2) that the drainage was inadequate. As late as 1924 at least one of the same appraisers had the same opinion as to the v^Iue of the Mississippi County property. We are unable to find what effect those two facts should have upon the values fixed by the appraisers and adopted by the respondent or that they should have any effect. *867From the evidence it appears that they obtained the best information available as. to the values as near the date of the decedent’s death as possible, and brought to bear their own best judgment. The evidence of the sale prices of various portions of the partnership assets several years subsequent to the basic date for valuation is too remote to permit us to disturb the valuations placed upon the property near the date of death. The result is to approve the respondent’s determination of the value of the gross estate. The deductions allowed by the respondent from the gross estate should be increased by one-half of $22,525.97 on account of a liability for state taxes which had accrued at the time of Moore’s death against the partnership.

Judgment will be entered under Rule 50.

